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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

DEENA L. HORNER, Individually and as
ADMINISTRATRIX OF THE ESTATE OF MICHAEL
A. HORNER, Deceased,
                               Plaintiff,
v.
                                                       Civ. No.: 14-cv-639
JOSEPH D. CUMMINGS, COLLINS TRUCKING,
INC., BRAD L. COLLINS, DAIMLER TRUCKS OF
NORTH AMERICA, LLC and FREIGHTLINER, LCC,

                                   Defendants.

                       CERTIFICATE OF SERVICE

            I hereby certify that on August 26, 2015, I electronically filed
Defendant Daimler Trucks North America LLC’s Brief in Support of its
Objections to July 29, 2015 Order with the Clerk of the District Court using
the CM/ECF system, which sent notification of such filing to attorneys noted
below.

COUGHLIN & GERHART, LLP               THOMAS,THOMAS & HAFER, LLP
Robert R. Jones, Esq.                 Todd B. Narvol, Esq.
 Attorneys for Plaintiff               Attorneys for Defendants Collins
99 Corporate Drive                     Trucking, Inc. and Brad L. Collins
PO Box 2039                           350 North Front Street
Binghamton, New York 13902            P.O. Box 999
                                      Harrisburg, PA 17108
CONNORS LAW, LLP
Kevin Connors, Esq.
 Attorneys for Defendant
 Joseph D. Cummings
140 S. Village Avenue, Suite 120
Exton, PA 19341
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                             WEBSTER SZANYI LLP
                             Attorneys for Defendant
                              Daimler Trucks North America LLC
                              Formerly known as Freightliner LLC

                             By:   s/ Thomas S. Lane
                                   Thomas S. Lane
                             1400 Liberty Building
                             Buffalo, New York 14202
                             (716) 842-2800
                             tlane@websterszanyi.com
